     Case: 1:19-cr-00226 Document #: 1460 Filed: 07/01/24 Page 1 of 1 PageID #:19872
      Case: 24-2028    Document: 00714401643           Filed: 07/01/2024   Pages: 1



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


          Everett McKinley Dirksen
                                                                     Office of the Clerk
          United States Courthouse
                                                                    Phone: (312) 435-5850
       Room 2722 - 219 S. Dearborn Street
                                                                    www.ca7.uscourts.gov
            Chicago, Illinois 60604




                                                    ORDER
July 1, 2024

By the Court:
                                       IN RE:
No. 24-2028                              ROBERT M. KOWALSKI,
                                              Petitioner
Petition for Writ of Mandamus
District Court No: 1:19-cr-00226-1
District Judge Virginia M. Kendall


The following is before the court:

1.         PETITION FOR WRIT OF MANDAMUS, filed on June 14, 2024, by the pro se
           petitioner.

2.         MOTION TO APPEA IN FORMA PAUPERIS, filed on June 24, 2024, by the pro
           se petitioner.

This petition for writ of mandamus appears to be identical to the petition filed in case
no. 24-1399. Accordingly,

IT IS ORDERED that this petition is DISMISSED as duplicative.

IT IS FURTHER ORDERED that the motion to proceed in forma pauperis is DENIED.
